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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

Fill in this information to identify your Pere

   

 

Debtor1  _ Cassie D. Maddox
First Name Middle Name Last Name
L]_ Check if this is an amended plan.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

Case Number Ze 5054 - M J \c

(If known)

 

 

 

. CHAPTER 13 PLAN AND MOTION
[Pursuant to Fed. R. Bankr. P. 3015.1, the Sou:hern District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113).
1. Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following

items. If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision
will be ineffective if set out in the plan.

(a) This plan: I contains nonstandard provisions. See paragraph 15 below.

C] does not contain nonstandard provisions.

(b) This plan: C] values the claim(s) that secures collateral. See paragraph 4(f) below.
&] does not value claim(s) that secures collateral.

(c) This plan: CL) seeks to avoid a lien or security interest. See paragraph 8 below.
] does not seek to avoid a lien or security interest.

2. Plan Payments.
(a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee”) the sum of $250.00 for the applicable commitment period
of:
C] 60 months; or (If applicable include the following: These plan
payments will change to $324.00 monthly on 1/20,
a minimum of 36 months. See i1 U.S.C. § 1325(b)(4). 2020.)

(b) The payments under paragraph 2(a) shall be paid:

CL] Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Debtor’s(s’) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
percentages of the monthly plan payment:

C] Debtor 1 _% C] Debtor 2%

Direct to the Trustee for the foliowing reason(s):

LJ The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance,
or retirement.
The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

The debtor has a new employer and is in a probationary period.

(c) Additional Payments of $0 (estimated amount) will be made on (anticipated date) from

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(source, including income tax refunds).

3. Long-Term Debt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be
disbursed by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to
postpetition amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit
‘payments that are to be made by the Trustee which become due after the filing of the petition but before the month of the
first payment designated here will be added to the prepetition arrearage claim.

PAYMENTS TO BE ~=MONTH OF FIRST

PRINCIPAL | MADE BY POSTPETITION INITIAL
RESIDENCE (TRUSTEE OR PAYMENT TO MONTHLY
CREDITOR COLLATERAL (Y/N) DEBTOR(S)) CREDITOR PAYMENT

(b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid
in full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage
payments are to be applied to prepetition amounts owed as evidenced by the allowed claim.

 

DESCRIPTION OF PRINCIPAL ESTIMATED AMOUNT _ INTEREST RATE ON
CREDITOR COLLATERAL RESIDENCE (Y/N) OF ARREARAGE ARREARAGE (if applicable)
4. Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to I1 U.S.C. § 507(a)(2) of $3,750.00.

(c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life
of the plan as funds become available in the order specified by law.

(d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM — INTEREST RATE MONTHLY PAYMENT

(e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a

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purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within |
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
David’s Auto Sales 2012 Kia Optima $12,000.00 6.25% $175.00

(f) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims
partially secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth
below. The unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The
plan shall be served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a
certificate of service.

VALUATION OF
CREDITOR DESCRIPTION OF COLLATERAL SECURED CLAIM INTEREST RATE MONTHLY PAYMENT

(g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
C with interest at % per annum or C)without interest:

(h). General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 0 % dividend or a pro rata share of
$0, whichever is greater.

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCRIPTION OF PROPERTY/SERVICES ASSUMED/ MONTHLY DISBURSED BY TRUSTEE
CREDITOR AND CONTRACT REJECTED PAYMENT OR DEBTOR(S)
Progressive Leasing Executory contract (furniture) Assume $150.00 Debtor

(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CREDITOR * ESTIMATED ARREARAGE

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6. Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments
pursuant to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: [ Direct to the Creditor; or te the
Trustee.

CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT
David’s Auto Sales $100.00
ds Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of

such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to
the following claimant(s):

CLAIMANT ADDRESS

8. Lien Avoidance. Pursuant to 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the
following creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan
shall be served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a
certificate of service.

CREDITOR LIEN IDENTIFICATION (if known) PROPERTY
9. Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent

shown below upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11
U.S.C. § 362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects.
Any allowed deficiency balance resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in
paragraph 4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order
confirming this plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED

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10.

14,

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Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
11 U.S.C § 1325(a)(5).

Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In
accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
after confirmation.

Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan
proposes, after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor’s(s’) plan is modified after the filing of the notice to provide
for payment of such fees, expenses, or charges.

Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13
plan on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the
Debtor(s) seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to
avoid a security interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan
on the affected creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in

this plan are void.

Set default interest rate at 6.25% on secured claims paid in the Chapter 13.

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated: U5) \4 (ono) Obi A x

Debtor 1

 

Debtor 2

/s/ Edward F. Smith

 

Attorney for the Debtor(s)

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF GEORGIA

WAYCROSS DIVISION

IN RE:
MADDOx, CASSIE D., * CASE NO. 19-50546-MJK

Debtor, *

* CHAPTER 13

M. ELAINA MASSEY, *

Trustee. *

CERTIFICATE OF SERVICE

 

| hereby certify that | have served a copy of the Chapter 13 Plan by First Class
Mail placing the same in the United States mail with proper postage affixed to the
following addresses:

See attached Matrix

| hereby certify that | have served a copy of the Chapter 13 Plan on the following
corporations addressed to an Agent or Officer by First Class Mail with proper postage
affixed thereon to the following addresses:

| hereby certify that the following insured depository institutions were served by
Certified Mail addressed to the officer of the institution:

| hereby certify that the following parties and counsel were served electronically
through the Notice of Electronic Filing (NEF) at the following address:

Elaina Massey,

Chapter 13 Trustee
courtdailysummary@ch13bwk.com,
courtdailybackup@ch13bwk.com

Office of the U. S. Trustee
Ustpregion21.sv.ecf@usdoj.gov

Thisthe 5 dayof_August _, 2019.

/s/ Edward F. Smith

Edward F. Smith

Georgia Bar No. 656823
Post Office Box 792 912-287-0055
Waycross, Georgia 31502
113-5

Case 19-50546-MJK

Southern District of Georgia
Waycross

Mon Aug 5 16:05:34 EDT 2019

Cassie D. Maddox
1017 Reed At
Waycross/GA 31501-2809

Darling Emergency Physicians

Attn: Officer, Managing or General Agent
P.0. Box 37614

Philadelphia PA 19101-0614 +

I.C. Systems Inc.

Attn: Officer, Managing or General Agent
P.0. Box 64378

Saint Paul MN 55164-0378

Office of the U. S.
Johnson Square Business Center

 
  

Savannah, GAA1401-2638

Verizon Wireless

Attn: Officer, Managing or General Agent
P.0. Box 660108:

Dallas TX 75266-0108

Wells Fargo Bank

Attn: Officer, Managing or General Agent
133 Edgewood Ave W

Jacksonville FL-32208

Attn: Officer, Managing or General Agent
4145 Shackleford Rd
Norcross GA 30093-3541

Commonwealth Financial

Attn: Officer, Managing or General Agent
245 Main St

Scranton PA 18519-1641

David's Auto Sales

Attn: Officer, Managing or General Agent
2251 Knight Ave

Waycross GA 31503-8003

 

Progressive Leasing

Attn: Officer, Managing or General Agent
256 West Data Dr

Draper UT 84020-2315

Verizon Wireless Bankruptcy Admin.

Attn: Officer, Managing or General Agent
500 Technology Dr, Ste 550

Saint Charles MO 63304-2225

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Bay Area Credit Service
Attn: Officer, Managing or General Agent
P.O. Box 467600

Atlanta GA 31146-7600

Convergent Outsourcing

Attn: Officer, Managing or General Agent
800 SW 39th St

Renton WA 98057-4927

Edward F. Smith

  

Waycross, GA 31502-0792

Memorial Satilla Health

Attn: Officer, Managing or General Agent
1900 Tebeau St

Waycross GA 31501-6357

Transworld Systems

Attn: Officer, Managing or General Agent
500 Virginia Dr, Ste 514

Fort Washington PA 19034-2707

Walker Jones Financial

Attn: Officer, Managing or General Agent
2700 Memorial Dr

Waycross GA 31503-0914
